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Exhibit A:
Robert Stanley Tripka’s
December 2018
Warranty Deed to
Charles Edward Lincoln III

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After Recording, Please
Return Original Deed and
Mail All Pax Statements to:

Charles Edward Lincoln Il
294 Walnut Street
New Orleans, Louisiana 70118

WARRANTY DEED

Property Address:
122 Harbor Drive, Palm Harbor (Ozona), Florida 34683

On this or -{ iA__day the day of December 2018, Robert
Stanley Tripka, a single (divorced) man, whose mailing address is 122
Harbor Drive, Palm Harbor (Ozona), Mlorida 34683, did sign, acknowledge,
and fully execute this deed conveying, delivering and granting all rights, legal
title and equitable interest forever in fee simple absolute, to Charles Edward
Lincoln II], a resident of the State of California, with mailing address at 224
Walnut Street, New Orleans, Louisiana 70118, to, and in, the herein
described land situated, lying, and being located in Pinellas County, Florida,
legally described as follows, to wit:

OZONA SHORES #° ADD LOT 26
Census Tract: 12103027202?
As recorded in Book 49 at Page 46 of the Subdivision Plat
For Ozona Shores 4% Addivuion in
Pinellas County, Morida, Section 10. Township 28 South
Range 15 East

More commonly known as 122 Harbor Drive in Palm Harbor ‘Ozona).
Florida 33683.

Grantor Robert Stanley ‘Tripka fully guarantees. promises, and
warrants to the grantee that there are no undisclosed claims. deed, liens,
encumbrances or other liabilities associated with, relating or attached to, or
otherwise afllecting the property, 122 Harbor Drive in Palm Harbor, Florida
33686, in any way. All claims or encumbrances. including all those which
might be disputed or contingent. including all those which night be disputed

Robert Stanley Tripka’s Warranty Deed to Charles Edward Lincoln HI |
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or contingent, have been enumerated, itemized, and fully disclosed to the
grantee Charles Edward Lincoln III after the grantor’s diligent search of all
relevant and accessible public and private records, stipulation to the conduct
of which grantor hereby makes and acknowledges. Charles Edward Lincoln
Il] acknowledges, in accepting this property, Robert Stanely Vripka’s Notice
of Lis Pendens filed July 3, 2016, concerning this property, as well as one or
more prior lis pendens filings by Wachovia

TO HAVE AND TO HOLD, THE SAME, IN FEE SIMPLE FOREVER.

Signed and executed in Pinellas County, Florida, on this 18" day of
December 2018, in’ consideration of Charles Edward Lincoln III's
guarantee, promise, and warranty of both a common law lile estate and a
civil code usufruct for life, enforceable under the laws of the State of
Louisiana, to Robert Stanley ‘Tripka, in the above-described property.

In witness hereinof. Grantor Robert Stanley ‘Vripka has set Grantor's
individual hand and signature on this <7 day of December 2016, and

 

has signed, sealed, and delivered this deed in the presence of the undersigned
witnesses and notary public:

oo

 

SO a ;
RobertSianley lripka, Grantor
122 Harbor Drive
?alm Harbor (Ozona), Florida 34683
Telephone: (727) 458-9135
K-mail: ripka@hotmail.com

Witness Affirmations:

We hereby affirm, certify, and verify under penalty of perjury that we
observed, saw, and witnessed the Grantor, Robert Stanley ‘Tripka, a person

either known to us or providing sufficient legal identification issued by the

State of Florida, as he signed, executed, and acknowledged this Warranty

Robert Stanley Tripka’s Warranty Deed to Charles Edward Lincoln H? 9
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1] ay .
Deed before us and in our personal presence on the D1m day of
December, 2018 in the city or town of UowkoebEXEYn Pinellas County,

llorida <A
hen kp A ‘ Se Z/

First Witness Signature:
Snare n BK. ‘pple

First Witness Name: ia aa ~ wed &. reo

And

 

——

 

#4) . Li
Second Witness Signature:__7 @£zeec0/ rede

/) “ a
Second Witness Name: Fatbtern La fs

Robert Stanley Tripka’s Warranty Deed to Charles Edward Lincoln HI 3
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JURAT

Before me on this 240 day the day of December, 2018,
Agbent Stanley ‘l'ripka and two competent adult witnesses Oo fAROR
Al PP LE and ; AT ICCA Dee MD f
Each of them being individuals personally known to me and/or presenting
legally sufficient identification, appeared in person before me to sign,
execute, and acknowledge this above warranty deed to Charles Mdward
Lincoln III. Robert Stanley Tripka and both of his witnesses having been
duly sworn on his or her oath, the grantor did affirm and acknowledge this
Warranty Deed granting all right, tide, and interest in and to 122 Palm
Harbor Drive in Palm Harbor (Ozona), Florida 34683 from himself’ to

Charles Edward Lincoln I].

 

 

My notarial seal appears herein above this line

MICHAEL |, GUJU
=% Notary Public - State of Flonda
© Commissions GS 136749

zi My Comm, Expires Dec 17,2027
Barded through National Notary Asst

 

 

Printed Name of Notary

 

 

Business address & telephone of Notary Public

Robert Stanley Tripka’s Warranty Deed to Charles Edward Lincoln HI |
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4309929

KEN BURKE

Clerk of the Circuit Court and Comptroller
315 Court St.

Clearwater, FL 33756

Tel. (727) 464-7000

 

 

 

 

 

 

 

 

 

 

 

http: www.pinellasclerk.org
Receipt #: 4025490
Cashier Date: 1/3/2019 2:26:24PM
Print Date: 1/3/2019 2:26:43PM
CUSTOMER INFORMATION TRANSACTION INFORMATION PAYMENT SUMMARY
30093009 : oo ~
CHARLES EDWARD LINCOLN III Date Received 1/3/2019 2:23:03PM Total Fees: 30.00
224 WALNUT STREET Location: NC Total Payments: $36.13
* Return Code: Agent Account Deposit: $36.13
NEW ORLEANS,LA 70118 Trans Type lnlemmalseranes)
Reference: Cash Tendered:
Escrow Balance <a a Change: sa
Payment
CHEC #15043 $36.13
Escrow Deposit $36.13

 

 

 

Miscellaneous Item
MISC

 

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Exhibit B:

Memorandum of Agreement
& Understanding with

Lawrence Paul Barnett &
Christina Anne Hall

(Tripka sabotaged)

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Memorandum of Agreement & Understanding
Charles Edward Lincoln III with
Lawrence Paul Barnett & Christina Anne Hall
Re: 122 Harbor Drive, Burghstream Point
Palm Harbor (Ozona), Florida 34683

Lessor:

Whereas Charles Edward Lincoln III (hereinafter “CEL III”) is the owner in
fee simple of 122 Harbor Drive, subject only to encumbrances received from
his Grantor Robert Stanley Tripka which are now in litigation (Case 2D18-
4407) in the Second District Court of Appeal of the State of Florida, and
may be the subject to further litigation, yet to be filed. by CEL III v. Wells
Fargo Bank, and offers to lease 122 Harbor Drive, Palm Harbor, Florida for
the refundable sum of $2550 for three months + additional (uncompensated)
labor, equipment, and material sufficient to completely clean and refurbish
the interior of the house at 122 Harbor Dr., which is today “a major mess”,

Lessee:

And whereas, Lawrence Paul Barnett & Christina Anne Hall (hereinafter
“LPB & CAH”), wish to lease 2 (two) bedrooms and garage space on the
premises, for themselves and their teenage daughter, and one dog (only),

Fair Market Value:

And whereas, LPB, CAH and CEL III agree that 122 Harbor Drive is
located in an upscale neighborhood of Ozona in Palm Harbor, (to wit:
Gulfside/bay or inland waterway waterfront on Burghstream Point in
Pinellas County) where (on Craigslist) the rental for a single room or studio
(some much smaller than this) is $800-$1500, with some 2 bedroom
properties on the Pinellas County waterfront listed as high as $5,000/month,

Pending Bankruptcy & Possible Change of Circumstances within 120 days:
And whereas LPB & CAH acknowledges and understands all the
ramifications of CEL IT’s disclosure that the subject property at 122 Harbor
Drive is part of a pending Petition for Chapter 1] Reorganization (Case
Number 19-bk-05127-CED) in United States Bankruptcy Court for the
Middle District of Florida, Tampa Division, pending before the Hon. Judge
Caryl E. Delano.

Except by formal modification or replacement, by a lease of equal or greater
formality, under no circumstances shall this contract or occupancy of 122
Harbor Drive hereunder be extended beyond October 31, 2019.

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Now therefore,

LPB & CAH agree to pay CEL III a total deposit-for-tri-monthly-rent of
$2550, of which $850 must be paid before 4:00 p.m on Tuesday, July 16,
2019 by deposit to CEL HI’s account at Iberiabank---no keys will be released
to the premises prior to payment of this $850.00.

For the balance of this deposit, LPB & CAH agree to pay $ on

Friday, July 19, 2019, by deposit to CEL III’s account at Iberiabank

previously used, prior to 4:00 PM on that same Monday, and the remaining
due and payable on or before August 15, 2019.

Failing payment of $2550.00 by August 15, 2019, LPB & CAH agree to
move and vacate immediately, waiving all presentment and notice
requirements, and promising to defend and indemnify CEL III for any and
all losses and costs incurred in enforcing this agreement.

LPB & CAH agree and understand that their deposit for rent is
supplemented by their joint & several promise to CEL III, to clean the filthy
premises created by the former owner and current partial (1 bedroom only)
current occupant of the property, Robert Stanley Tripka.

LPB & CAH acknowledge that they will bear the complete cost for this
cleaning effort and that they must take precautionary measures to protect
their and their daughter’s health, although Lincoln will make best efforts to
obtain full insurance coverage for this property, and this may include
allowing health inspections and insurance adjustor review of the property.

CEL IID’s purpose is his Chapter 1] BK is to refinance the property.

If CEL MI is successful (which he cannot and does not guarantee) LPB &
CAH may renew her lease beyond October 31, 2019, without further
payment of deposit, although the rent at that point, assuming refinancing is
completed by then, will be at or above the $2550/month rate.

After October 31, 2019, and the fixing of the rent at that time, LPB & CAH
will be entitled to rent for any term of months up to and including December
2020, without payment of any further deposit and without payment of the
month of November 2019, so long as the house has by October 31, 2019
been rendered cleaned and necessary repairs made.

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LPB & CAH have made substantial and material representations that they
are both able and willing to perform all cleaning, maintenance, and repair
work on the house, or to subcontract out certain specialized tasks, at their
cost, such as the removal of bees from the outside stairwell.

LPB & CAH understands that they are renting ONLY two bedrooms and
the adjacent included bath and RIGHTS to but not exclusive use of all
common areas including the living room, dining room, pool, boat dock,
garage, and outside of the house. LPB & CAH or their daughter or other
guests may park cars in the garage or driveway, of course, and dock any
boats at the boat dock, and have guests in the common areas with reasonable
notice to any other occupant (“Tripka or his successor’).

Even if at no time residing on the property, at no time will LPB & CAH
impede or limit Charles Edward Lincoln III’s access to the property, but will
assist and cooperate with him whenever necessary, including allowing CEL
III’s licensees, invitees, agents, appraisers, health officials, or insurance
agents or adjusters to enter and inspect the property for any and all legal

purposes.

Further, LPB & CAH waive all notices regarding the termination of the lease
if not expressly agreed and renewed after October 31, 2019. F ailing written
renewal, LPB & CAH agree to move and vacate the property and to defend
and indemnify CEL III for any delay or failure to vacate at the rate of
$100/day for every day starting November 1, 2019, for which LPB & CAH
waive all statutory and common law rights of and to demand, notice and
presentment.

Robert Stanley Tripka appears to have offended Wells Fargo and the bank’s
realtor, apparently, by his dereliction of the house. They are absolutely
refusing to talk to me about refinancing until Bob Tripka is gone. After my
own observations and your reports from the cleaning front, CEL II, LPB &
CAH agree and understand that they (and Wells Fargo) think the house is a
“tear down” at the present time because of the extremely derelict and
unsanitary condition it is in, and they (and apparently Wells Fargo) blame
Robert Stanley Tripka, in whole or in part.

Robert Stanley Tripka has agreed fully to cooperate (and must at all times in
fact cooperate) with all work involving and relating to the cleaning,

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Case 8:19-cv-02101-CEH-CPT Document 1-1 Filed 08/22/19 Page 11 of 24 PagelID 30

maintenance, and rehabilitation of this house or else CEL III will require
him to move out by Friday, August 9, 2019;
LPB & CAH agree to keep their dog separate from Tripka’s cat.

This agreement is NOT confidential, and may be filed with the U.S.
Bankruptcy Court for the Middle District of Florida, Tampa Division, and
otherwise published and circulated to brokers and lenders.

LPB & CAH must sign and acknowledge this final agreement will be signed
and acknowledged before notary on Tuesday, July 16, 2019, in addition to
making a cash deposit of $850.00 in Iberiabank prior to 4:00 p.m. Eastern
Daylight Time (3:00 p.m. Central Daylight Time).

 

Lawrence Paul Barnett Christina Anne Hall
Florida Identification Card: Florida Identification Card:
B653-535-84-008-0 H400-101-79-547-1
Expires 01/08/2024 Expires 02/07/2024

Telephone: 757-348-4508 E-mail: bubbanchrissy@gmail.com
Florida Notary’s Jurat for Christina Anne Hall

Christina Anne Hall appeared-in person before me in the city of
ax, 2 ches in_7JOSCO County, Florida,
on _] & day the _ i _ day of July, 2019, to sign, execute, acknowledge,
and affirm the above-and-foregoing Memorandum of Agreement &
Understanding with Charles Edward Lincoln II.

1 am a notary in the state of Florida, authorized to administer oaths
and take declarations and evidence.

SIGNED AND ACKNOWLEDGED BEFORE ME, a Notary Public
in gf 300 , Florida, on this_/._ day of July, 2019.

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/- MotaryPublic, State of Florida

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Florida Notary’s Jurat for Lawrence Paul Barnett

Lawrence Paul Barnett appeared jn person before me in the city of
0 t Nie oc in sc O County, Florida,
on _/G day the (4 day of July, 2019, to sign, execu

te, acknowledge,
and affirm the above-and-foregoing Memorandum of Agreement &
Understanding with Charles Edward Lincoln III.

I am a notary in the state of Florida, authorized to administer oaths
and take declarations and evidence.

/-pIGNED AND ACKNOWLEDGED BEFORE ME, a Notary Public
in ; ASCO , Florida, on this ((G_ day of July, 2019.

   

      
  

tinal "SOFIA KARAGIANNIS ;
Y SeeSe, notary Public - State of Florida f
A i¥ % Commission # FF 932042
di eA ss My Comm Expires Oct 29, 7 19 ,
“AB OFRS® — Bonded through National Nom Asstt.
aay . Pw

 
     
 

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U7 L/

     
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Exhibit C:

Threat of Lawsuit from
Barnett & Hall because of

Tripka’s Interference & Bad
Faith

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Lawrence Paul Barnett
Christina Anne Hall
10922 Oak Drive
Hudson, Florida 34669

Saturday
July 20, 2019
Mr. Robert Stanley Tripka
122 Harbor Drive
Palm Harbor, Florida 34683

| attach a copy of the agreement | had with Mr. Charles Edward Lincoln Ill.
Chrissy and | are giving you notice by this letter that if you do not deliver
possession of the premises we agreed to lease (two bed rooms, one bath and
garage space) you and Mr. Lincoln agreed to lease us, we will sue you for the
sum of $55,000.00 for breach of contract, breach of the implied covenant of
good faith and fair dealing, and for tortious interference with Contract, in the
Sixth Circuit Court of Pinellas County.

The sum of $50,000.00 is what Mr. Lincoln told us he admitted to the
Bankruptcy Judge in Court on Tuesday, July 16, 2019, was his estimate for
repair work on the house to put it in top marketable condition. That work was
rightfully mine and Chrissy’s. $50,000.00 was our reasonable expectation of
legitimate business and cash flow, even if it was not all profit.

Mr. Lincoln, by his e-mails, has already confessed that we had a valid
agreement with him and that you are the one who stopped it. You interfered
in our contractual agreement without legal cause or justification. Your change
of mind for no reason at all was the sole reason for the breach, which has
forced us into an expensive motel. Our damages from that are $5,000.00.

Chrissy and | understand that you are a realtor and so, if you don’t let us move
in and consummate the contract, we will report you to the Florida Board of
Real Estate Commission, Department of Business & Professional Regulation.

You have done something completely crooked and wrong. Mr. Lincoln wanted
to stand by his agreement with us, which was beneficial to both of us---and you
agreed too. We cannot believe that this really happened.
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Exhibit D:

Memorandum of Agreement
& Understanding between
Charles Edward Lincoln III,
Troy P. Johnson, and
Tracy Lynn Gazarek
Signed, Executed & Accepted
August 21, 2019

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Memorandum of Agreement & Understanding for
RENTAL & RECONSTRUCTION
Charles Edward Lincoln If with
Troy P. Johnson and Tracy Lynn Gazarek
Re: 122 Harbor Drive, Burghstream Point
Palm Harbor (Ozona), Florida 34683

 

Whereas:

L Lessor Charles Edward Lincoln U1 (hereinafter “CEL UI”) is the
owner in fee simple of 122 Harbor Drive, subject only to encumbrances and
claims of indebtedness transferred and received from his Grantor Robert
Stanley Tripka which are now in litigation (Case 2D 18-4407) in the Second
District Court of Appeal of the State of Florida, and may be the subject to
further litigation, yet to be filed. by CEL II v. Wells Fargo Bank, and

2 CEL III offers to lease the house at!22 Harbor Drive, Palm Harbor,
Flonda 34683 for the sum of $1550/month plus labor, equipment, and
material sufficient to completely clean and refurbish the interior of the house
at 122 Harbor Dr., which is today “a major mess”;

3. Troy P. Johnson & Tracy Lynn Gazarek (hereinafter “T'P] & TLG”),
wish to lease this home together with their 18-year old (adult) son Cordelle
Gazarek, minor (14-year old) daughter Tabitha Gazarek and brown
boxer/pilot hound named Toby (four years old)(no other pets);

4. TPJ, TLG, and CEL II agree that 122 Harbor Drive is located in an
upscale neighborhood of Ozona in Palm Harbor, (to wit: Gulfside/bay or
inland waterway waterfront on Burghstream Point in Pinellas County) is (at
$1550/month) dramatically underpriced compared with fair market value;

B. TPJ & TLG acknowledge and understand all the ramifications of CEL
IITs litigation, both ongoing and planned.

Now therefore,

TPJ & TLG agree to pay CEL III a total of $3300 by cash or cashier’s check
made payable to Charles Edward Lincoln I, on Wednesday, August 21,
2019 to cover their FIRST & LAST MONTHS RENT (2 x $1550.00 =

$3100), plus $200 to cover all incidental recordation, evidence preparation,

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& auxiliaries (this lease will be recorded in the public records of Pinellas
County, Florida).

TPJ & TLG agree that there are three components to the rent here agreed to
for 122 Harbor Drive in Palm Harbor, Florida: (1) cash payments to CEL I
in the initial amount of $1550/month, escalating (if and only if TPJ & TLG
opt to extend and continue the least under this contract) every six months
starting January 5, 2020, (2) a cleaning, reconstruction, & repair component,
(3) a litigation cooperation component.

The maximum term of this lease shall be for four years, subject to the
following terms and conditions:

Lessees understand that they take this lease subject to a claims and threats of
bank ownership which CEL UI disputes. There has been ongoing
foreclosure litigation for 11 years on this property and that the property
remains in litigation. CEL Ill intends to continue fighting, but Lessees
understand that there is a threat to CEL IIIs title. This lease, in part, is
designed to preserve, protect, and defend title ownership in defiance and
dispute of the banks’ claim and that of their servicers.

$1550.00/month is the cash rent to be paid directly to CEL III for the first
four months only (September-December 2019). During this initial time
period TPJ and TLG will make all necessary repairs and keep track of their
costs and expenditures, including those of contractors and subcontractors
who perform work on the house. TPJ and TLG promise to use their best
efforts to keep costs down.

RECONSTRUCTION & REPAIR MAY SUPPORT LIENS:

All expenditures for which liens are filed may be redeemed either in CEL
IIPs refinancing or in the sale and purchase of 122 Harbor Drive.

CEL UT acknowledges, agrees and affirms that TP] & TLG will provide
work, labor or materials on a construction (or reconstruction) project at 122
Harbor Drive in Palm Harbor, Florida 34683 and that their work is one of
the three principal purposes of and for this memorandum of agreement and
understanding for rental, repair, and reconstruction. [Ordinary surface

TP TPJ . TLG ---2---

 
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cleaning does not give rise to liens; removal of mold, however, or bees, may
support filing of liens, upon agreement].

CEL III agrees that TPJ & TLG and their contractors, subcontractors,
laborers, certam design professionals, sub-subcontractors and material
suppliers may file or more Florida mechanics liens for all work undertaken at
their own costs. TPJ & TLG affirm and agree that CEL II must approve of
all work by parties who may wish to file liens. TPJ & TLG agree and
understand that they must deliver (i.e. “serve”) a copy of all liens or claims
To CEL III and any claimant Banks and to cooperate to make sure all liens
are otherwise properly recorded and processed.

So long as TPJ & TLG support CEL III in litigation, CEL II agrees and
affirms that he will endorse and support their claims of lien, if necessary,
against any third party (e.g. Bank or Bank servicer) claiming an interest in or
secured right against the property at 122 Harbor Drive, Palm Harbor,
Florida 34683 so long as the work is well-documented and legitimate.

Any liens filed by TPJ & TLG shall only be asserted, if necessary, against
Third-Party Banks or Services or (without time limitation, but also without
interest) in calculating the sale/purchase prices of the home at 122 Harbor
Drive. TPJ & TLG agree and covenant that they will never foreclose nor
initiate attempt to foreclose their liens against CEL III’s right, title, and
interest. TPJ & TLG further agree to defend and indemnify CEL III for any
and all costs incurred in the defense of any third-person claiming a right to
foreclose against CEL II by and through any lien to which CEL III has
specifically agreed. These liens are intended as security against the Banks
and their servicers.

DOCUMENTING REPAIR & RECONSTRUCTION (AND
EXTRAORDINARY CLEANING) WORK: TPJ and TLG will provide
written proof (formal and professional receipts, where available, supported
by affidavits where necessary) to CEL UI of all their expenditures,
authenticating them under oath if necessary.

For his part, CEL UI agrees in advance to TPJ and TLG, or T-sqared or
any other entity actually performing valuable work at 122 Harbor Drive, to
place up to 8 liens on the property at 122 Harbor Drive. These liens may
reflect separate contractual claims (included in the $200.00 incidental

~aae TP] TLG _
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recordation and legal charges above) during the first four months of
reconstruction and rental. These liens shall (as required by law) be disclosed
in all ongoing litigation against Wells Fargo Bank or any of its nominal
successors or assigns.

TPJ and TLG agree and affirm that they will cooperate in verifying their
work on the subject property at all stages of construction and for purposes of
public recordation and litigation (including, if necessary, appearing in court).

TP] & TLG acknowledge and understand that their cash rent payable to
CEL III will increase periodically throughout the term of this lease, and that
their down payment of $3100.00 covers (constitutes payment, immediately
credited) of their first and last months only, regardless of how long TP] &
TLG actually stay. Under no circumstances will CEL II refund the
$3300.00 paid on Wednesday, August 21, 2019, for any reason.

PERIODIC (SEMESTERAL) ESCALATION. The rent for 122 Harbor

Drive due on February 5, 2020, will be $1750.00, and continue monthly at.
that rate through August 5, 2020. On September 5, 2020, the rent will

increase to $2000.00/month through December 2020. On February 5,

2021, the rent will increase AT LEAST to $2,250.00/month absent a

rescission or reformation of this original agreement by a document of equal

formality, etc. Every six months after that date, CEL III will have the right

to state an increase in rental to comport with current market conditions in

Palm Harbor, Florida.

RENT DUE, LATE PAYMENT FEES &
LEASE TERMINATION UPON 60 DAYS NON-PAYMENT

The rent will be due on the fifth day of every month (or the closest banking
day thereto, starting on October 5, 2019). Any rental payment received
after the 15% day of the month will incur an additional $155.00 late fee. Any
rental payment received 30 days late will incur an additional $330.00 late
fee. Sixty days after a default in payment, the lease will automatically
terminate and T'PJ & TLG agree to vacate immediately.

Specifically: TPJ & TLG agree to move and vacate the property and to
defend and indemnify CEL III for any delay or failure to vacate at the rate
of $100/day plus attorney’s fees and court costs for every day starting on the

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60 day after default, for which TPJ & TLG waive all statutory and common
law rights of and to demand, notice and presentment.

TPJ & TLG acknowledge, agree, affirm and understand that their deposit
for rent is supplemented by their joint & several promises to CEL III, to
repair, reconstruct, clean and maintain 122 Harbor Drive in excellent
condition, and to cooperate against the Banks in litigation.

TRPJ & TLG acknowledge that they will bear the complete cost for this
cleaning and that they must take precautionary measures to protect their and
their minor daughter’s health.

Because the last two-months of rent have been paid in advance, TP] & TLG
may cancel their obligation on this lease, unilaterally, at any time on 60 days
notice to CEL If, and will owe no further obligations upon notifying CEL
IIT in writing.

INSURANCE:

CEL III does not and will not carry any insurance on 122 Harbor
Drive and will not purchase any.

Prior to preparing this contract, TPJ & TLG affirmed and
acknowledged that on Monday, August 19, 2019, they provided CEL III
with evidence of currently valid insurance which will cover all their residence
and health (and that of their children, visitors, guests, licensees and invitees)
at the house and real estate located at 122 Harbor Drive, Palm Harbor.

OTHER EVENTS OF DEFAULT &
TERMINATION: 60 DAYS NOTICE

IF at any time, TPJ & TLG allow their insurance to lapse, this will be
considered an event of default equivalent to failure to pay cash rent,
justifying termination of this lease with 60 days notice to quit automatic.

In the event of non-payment of cash rent, at any stage of period escalation,
TRJ & TLG waive all notices regarding the termination of the lease within
60 days in that they have paid their last two months rental “up front”.

“7S. TP] YA TLG 5a

 
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Failing agreement for written renewal at the end of any six month period, or
according to their own notice of termination, TP] & TLG agree to move and
vacate the property and to defend and indemnify CEL III for any delay or
failure to vacate at the rate of $100/day for every day starting on the 60%
day after default, for which TP] & TLG waive all statutory and common law
rights of and to demand, notice and presentment.

MUTUAL OPTIONS TO SELL OR REFINANCE AT ANY TIME

One alternative purpose of this contract is to refinance the property, and
TPJ & TLG agree to cooperate in this endeavor by affirming this contract,
and their intentions to stay, at any time upon CEL III’s request.

Another alternative purpose of this contract is to position TP] & TLG to buy
the property outright from CEL [I and any and all claimants who either
have or pretend to have lent money to Robert Stanley Tripka.

Regardless of the time limitations or any other provisions of law, CEL III
will give credit for amounts documented as liens during the first four months
(or subsequently, by separate agreement) to TPJ & TLG if these parties at
any time in the future agree to a sale/purchase agreement regarding 122
Harbor Drive, Palm Harbor, Florida 34683.

TPJ & TLG have made substantial and material representations, necessary
to this memorandum of understanding and agreement for rent and
reconstruction, that they are both able and willing to perform all cleaning,
maintenance, reconstruction, and repair work on the house, or to
subcontract out certain specialized tasks, at their cost, such as the removal of
bees from the outside stairwell (incorporating here the above-discussion of
three essential mandatory elements of the contract and optional right to file,
impose, and collect liens against bank or bank-servicer claimants only).

At no time nor for any reason whatsoever will TP] & TLG bar, block or
impede or limit Charles Edward Lincoln III’s access to the property, but will
assist and cooperate with him whenever necessary, including allowing CEL
II’s licensees, invitees, agents, appraisers, health officials, or insurance
agents or adjusters to enter and inspect the property for any and all legal

purposes.
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Robert Stanley Tripka has agreed fully to cooperate by moving out on
August 31, 2019, and so, the move-in date for TP] & TLG will be
September |, 2019.

This agreement is NOT confidential, and may be filed with any U.S. Federal
or Florida State Court and otherwise published and circulated to brokers
and lenders.

TPJ & TLG must sign and acknowledge this final agreement must be
affirmed, acknowledged and signed before a notary public in Pinellas
County, Florida on Wednesday, August 21, 2019, in addition to either
making a cash (or cashier’s check) deposit of $3300.00 in CEL III’s
Iberiabank account prior to 4:00 p.m. Eastern Daylight Time.

We, the undersigned Troy P. Johnson & Tray Lynn Gazarek, understand
and agree that we are signing this unconventional memorandum of
agreement and understanding with unusual benefits and provisions, and we
acknowledge, affirm, and agree to our understanding of all provisions, and
have reviewed signed each page by our initials, prior to signing before
notary.

 

  

Florida Identification Card: Florida Driver License Class E

_ J525-815-67-419-0 G262-812-70-621-0
T&TExpires 61-19-2022 Expires 04-01-2023
Telephone: 813-506-9644 Telephone: (727) 776-1392

E-mails: troy@i-assemble.com & service@t-sqaredassembly.com

TRE TP] 1Z TLG lan
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Florida Notary’s Jurat for Tracey Lynn Gazarek

Tracgyy Lynn Gazarek appeared in person before me in the city of

St. P a bud in Pinellas County, Florida, on ° nls the x8 ,
21" day of August, 2019, to sign, execute, acknowledge, and affirm the
above-and-foregoing Memorandum of Agreement & Understanding with
Charles Edward Lincoln III.

I am a notary in the state of Florida, authorized to administer oaths
and take declarations and evidence.

__ SIGNED AND ACKNOWLEDGED BEFORE ME, a Notary Public
in DiweeAs Covaty , Florida, on this 21 day of August, 2019.

 

 

 

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oy Commission # GG 167314 Notary Public, Pinellas County
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Printed Name of Notary: ibn Nia Seat
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Business Address & Telephone of Notary:
FUDL 6 262-Gi2--b2/-0 12 b-1e1 Ee 4-1-2628

 

My Commission Expires: Deembr Id J Zont

 

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Case 8:19-cv-02101-CEH-CPT Document 1-1 Filed 08/22/19 Page 24 of 24 PagelD 43

Florida Notary’s Jurat for Troy P. Johnson

_ Troy P. Johnson appeared in person before me in the city of
St. (tivshura in Pinellas County, Florida, on Wednesday
the 21st day of August, 2019, to sign, execute, acknowledge, and affirm the
above-and-foregoing Memorandum of Agreement & Understanding with
Charles Edward Lincoln III.

I am a notary in the state of Florida, authorized to administer oaths
and take declarations and evidence.

SIGNED AND ACKNOWLEDGED BEFORE ME, a Notary Public
in _ LEWAS Cowwry , Florida, on this 21% day of August, 2019.

Ure Seal:

Notary Public, Pinellas County
State of Florida

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if AXY4).2 Commission # GG 167314
SST Jas My Comm. Expires Dec 11, 2021

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Notary’s Seal above this line
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Business Address & Telephone of Notary: by Lo]. Cayda Kre At laine )
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My Commission Expires: D ecomla_! f , 202/.

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